              Case 1:16-cv-02212-RDM Document 37 Filed 07/12/19 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

  ANWAR J. ARMSTRONG, et al.,                   )
                                                )
              Plaintiffs,                       )
                                                )
  v.                                            )   Civil Action No. 1:16-cv-2212-RDM
                                                )
  NAVIENT SOLUTIONS, INC.,                      )
                                                )
              Defendant.                        )

                        JOINT STIPULATION OF VOLUNTARY DISMISSAL

          Plaintiffs Anwar J. Armstrong and Ann Holiday (“Plaintiffs”) and Defendant Navient

Solutions, LLC, formerly Navient Solutions, Inc. (“NSL” or “Defendant”), collectively by counsel,

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, file this Joint Stipulation

of Voluntary Dismissal representing that, by joint agreement of all parties to this action as

evidenced by the signatures of counsel below, these proceedings may be dismissed, without

prejudice, as to all of the claims and defenses which were, or could have been, asserted by the

parties, including the withdrawal without prejudice of the Motion for Attorney’s Fees and Costs

[ECF No. 32] filed by NSL.

          Each party shall be responsible for its own respective fees and costs. A proposed order is

attached for the Court’s review and entry to the extent deemed necessary by the Court.

Dated: July _____, 2019                        Respectfully Submitted,

                                               ANWAR J. ARMSTRONG
                                               ANN HOLIDAY
                                               NAVIENT SOLUTIONS, LLC
                                               By Counsel




176270 - v1                                   1
              Case 1:16-cv-02212-RDM Document 37 Filed 07/12/19 Page 2 of 2




/s/ Tyler Jay King_______________________
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this ____ day of July 2019, I filed the foregoing using the
CM/ECF system which will send a notice of electronic filing through the Court’s electronic filing
system to all counsel of record:

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                                            /s/ Tyler Jay King_______________________
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                                            Counsel for Plaintiffs



176270 - v1                                 2
